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 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                             FOR THE DISTRICT OF ARIZONA
10
11   United States of America,                      Case No. 2:19-cr-00898-DLR
12                       Plaintiff,                 DEFENDANT’S REPLY TO
13                                                  UNITED STATE’S RESPONSE (Doc.
           vs.                                      851) TO DEFENDANT’S
14                                                  SUPPLEMENTAL SENTENCING
     David Allen Harbour,
                                                    MEMORANDUM (DOC 839)
15
                         Defendant.
16
17         The government accuses the Defense of launching personal attacks on the
18   prosecutor and the alleged victims. Every time we have pointed out misrepresentations
19   made by the government they have been supported by citations to transcripts admitted
20   evidence that juxtapose the misrepresentation with the transcripts and evidence. None of
21   these allegations, and they approach 100, have been refuted specifically with citations to
22   testimony and evidence. We continue this theme by directing the Court to the
23   misrepresentations made by the government in Doc. 851.
24         The Prosecutor told the Court that PAIF funds were diverted for other personal
25   expenses and not for Green Circle to make new loans to consumer borrowers and cited
26   Exhibit 910 in support of this statement (Doc.851, pg.6, ll.19-21, pg.7, ll.1-2). Exhibit
27   910 is tracing the $1.1 million returned to Oak Tree through Green Circle, therefore the
28
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 1
     government is stating the $1.1 million was only for making new consumer loans.1 This
 2
     was a false statement as proven by the testimony of Burgess and the letter written by
 3
     Primus on behalf of Green Circle to PAIF. Burgess told the Court and the Court
 4
     confirmed with Burgess that he thought the $1.1 million was paying back all the money
 5
     Oak Tree had loaned Green Circle, which means it was 100% not for consumer loans
 6
     (Hr. 11/29/23, pg.120, ll.6-16). The government ignored the actual letter authored by
 7
     Primus that Green Circle sent to PAIF requesting the $1.1 million (Doc.839, Burgess
 8
     #37, #37A, 37B). Remember that Primus was, simultaneously, acting for Green Circle
 9
     and for PAIF.
10
           Green Circle is pleased to execute the refinance of its portfolio with
11         Fintech in the amount of approximately $1.1 million. Green Circle will use
12         the proceeds to reduce its current obligation to Oak Tree Management,
           LLC of approximately $2.7M. The $1,100,000 Fintech will be sending to
13         Green Circle will then be sent to Oak Tree Management, LLC for such
           reduction of principal that Green Circle owes to Oak Tree Management,
14         LLC on its credit line.
15         The government stated that PAIF wiring the $1.1 million to Green Circle was
16   sufficient direct and circumstantial evidence that Harbour misrepresented the viability of
17   the consumers (Doc.851, pg.7, ll.5-8). This is a false statement. There was no evidence
18   presented at the trial of Harbour or Purifoy manipulating the consumer borrower's on the
19   May or 7/31/15 aging reports. At trial, the theory was that Harbour manipulated two to
20   three monthly borrowing bases after August 2015 (dates unstated) and not the A/R
21   Report for May or July, 2015. Before the trial, the government told the Court the fraud
22   was the 7/31/15 aging report. Of course, there was no connection between Harbour and
23   PAIF until July 2015, so there is no possibility that Harbour manipulated a May 2015
24   A/R report.
25
26   1 This is also what the Prosecutor told the Jury in closing arguments, specifically
27   referencing and displaying Exhibit 910 with no evidence to support it (Tr. 2/24/23,
     pg.214,215). The Defense objection was overruled.
28

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 1   Rapp: As mentioned, the government previously advised the Court that L.P., a
     cooperating government witness, who was Harbour’s internal bookkeeper, has told the
 2   government that Harbour personally falsified the July 31, 2015, aging report before he
 3   sent it to PAIF (Doc. 225, pp. 2-3). (Document 378 page 4 line 28 and page 5 lines 1-3)

 4             Compare that to Purifoy's testimony that she had zero involvement in the 7/31/15

 5   aging report. (Tr. 2/14/23, pg.185) The government admits Harbour sent the 7/31/15

 6   aging report to Primus on 8/6/15 (Doc.851, pg.3, ll.10-11). Purifoy testified she was not

 7   in town on 8/6/15, she was at the beach in California at Half-Moon Bay and Harbour was

 8   at the lake in Idaho (Tr. 2/14/23, pgs.269, 274) on 8/6/15. Therefore she could not have

 9   “seen” and did not “see” Harbour manipulate the 7/31/15 aging report. Presumably, this

10   revelation by Purifoy is why the government abandoned calling Primus and Burgess at

11   the trial.

12             The government states the Defense misrepresented the testimony that Burgess did

13   not testify that Harbour sent the aging reports to Andreev to be sent to PAIF (Doc.851,

14   pg.2, ll.22-28). This is a false statement. The Defense did not misrepresent the testimony

15   at all.

16   Burgess: That they would send an accounts receivable to him [Harbour] on those two that
17   were produced and then the accounting for the borrowing bases, and he [Harbour] would
     modify them and send them back to him [Andreev] and ask him to send them to us (Hr.
18   11/29/23, pg.105, ll.11-14).
19             The government states that Primus never tried to hide his dual employment with

20   PAIF and Green Circle, because it was stated in his Declaration in 2022 (Doc.851, pg.4,

21   ll.14-20). Seriously? The 2022 Declaration has nothing to do with what Green Circle and

22   Harbour knew in 2015. Dunsworth stated nobody knew about Primus dual role (Doc.839,

23   Attachment C Dunsworth Declaration).

24             Primus is a CPA, he knew he needed to disclose his conflict of interest when he

25   was red lining agreements between Green Circle and PAIF. Even after the Defense

26   pointed out that Burgess own documents show Green Circle did not pay GT Law

27   $500,000 and Primus, as now admitted by the government an Officer of PAIF, is the one

28   who paid them, the government is still saying that Green Circle paid $500,000 to GT Law

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 1
     and it was not authorized by PAIF. This is another intentional misrepresentation. The
 2
     government states that Burgess did not testify that Green Circle was ongoing operational
 3
     business (Doc. 851, pg.5, ll.23). To the contrary, Burgess testified that Green Circle never
 4
     missed a payment to PAIF and on 12/1/2023 provided spreadsheets that Green Circle
 5
     paid all of its vendors and interest to Oak Tree and payments to Milagro. The government
 6
     is contesting that this is not evidence of an ongoing operational business?
 7
            The government then states that Primus declaration and Burgess testimony proves
 8
     the 7/31/15 aging report came directly from Harbour and not Andreev or Primus
 9
     (Doc.851, pg.4, ll.1-4). Like the way in which the Prosecutor tried to manipulate Wesley
10
     Wong’s words, here he is again trying to be clever with words. The evidence proved that
11
     Harbour received the 7/31/15 aging report directly from Andreev on 8/6/15 and
12
     forwarded the exact same report to Primus and copied Farrell, it got to Primus through
13
     Harbour directly from Andreev (Hr. 11/29/23, pg.86, ll.13-16).
14
            The Prosecutor has the emails and heard the testimony that Harbour received it
15
     and forwarded it on, how is this not a deliberate misrepresentation of the facts? If the
16
     7/31/15 aging report was wrong (and to this day not one witness has ever proven that it
17
     was) there is no evidence that it was manipulated by Harbour.
18
            Purifoy testified that Andreev was in charge of the accounts receivable (Tr.
19
     2/14/23, pg.108). To punctuate this misrepresentation by the government, Burgess
20
     testified that he does not know if Harbour changed the numbers he got from Andreev
21
     (11/29/23, pg.104, ll.25 and pg.105, ll.1-5). He also admitted he does not know who
22
     actually put together the aging reports that was sent to Primus (11/29/23, pg.56, ll.2-8).
23
     Burgess and Purifoy testimony along with the direct evidence proves Harbour did nothing
24
     wrong with the 7/31/15 aging report whatsoever. If it was wrong, why didn't Primus state
25
     it was wrong, show what numbers were wrong and attach the correct May and July aging
26
     report to his Declaration, so the Court could see what was manipulated? Burgess testified
27
28

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 1
     he “discovered” the consumer loans had been manipulated within 6, 7, 8 months after
 2
     seizing the Green Circle portfolio in September 2016 (Hr. 11/29/23, pg.29, ll.12-16).
 3
           Here is the key part, he said it was the aging report for May and July 2015.2 There
 4
     is no evidence to support either, but is a vital problem for the government. Harbour and
 5
     Purifoy could not have sent anything to Bob Farrell or PAIF in May 2015 and the
 6
     government did not refute this fact. So out of the 467 loans, how many were in May and
 7
     how many were in July?
 8
           Meanwhile, Burgess, has now told the Court exactly how many consumers were
 9
     allegedly manipulated or not funded, there were 467, with a value of $212,320 that were
10
     either; “A.” Not funded or “B.” Manipulated3 (Doc.851, pg.5, ll.28). Why did Burgess
11
     not attach the supporting documents of these 467 loans to Primus declaration, which was
12
     submitted on March 3, 2022, Doc.352-1? Primus’ Declaration does not mention any
13
     consumer loans being manipulated or not funded. This is the first time in 7 years the
14
     number of consumer loans have actually been provided in any document.4
15
           Burgess admitting exactly how many consumers were “manipulated or not
16
     funded” and the amount is a very important admission. It computes for the Court the
17
     average loan amount, which is $454.64 [$212,320 / 467 loans]. This is important because
18
     it tells the Court how many loans were actually made by Green Circle with the funds
19
     2 The government never mentions the May 2015 aging report in Doc. 851. This has to be
20
     taken as a concession that it could not have come from Purifoy as Burgess testified,
21   which proves he was not honest with the Court.

22   3 Burgess testified to both happening. His first story was that Harbour changed them in
     the LMS from being past due to current. His second story was Green Circle never funded
23
     the consumer borrower's. The government did not refute that Burgess had two different
24   stories, nor did it pick which story Harbour actually did, but in cannot be both.

25   4 The government did not refute that Primus had access to the LMS, Infinity, which
     means PAIF had access and could monitor the portfolio in real time with live data feeds.
26   This also means Burgess was not honest with the Court. More importantly, it means PAIF
27   would know, in real time, if loans were manipulated in the LMS. This is more evidence
     why Burgess story of 467 bad loans does not hold water.
28

                                                 5
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 1
     from Oak Tree and PAIF. The government stated that the Defense calculations were not
 2
     intelligible (Doc.851, pg.5, ll.10-12).
 3
            We will only use the numbers from the Green Circle bank statements to show it is
 4
     ridiculous that PAIF lost any money when it seized the Green Circle portfolio, as
 5
     opposed to using it to collect millions it used to help pay Ranger back the $32 million.
 6
     The Green Circle bank statements show $3,087,203. Burgess testified PAIF, itself, loaned
 7
     $5.5 million. Therefore the total loaned to consumers from Oak Tree and PAIF sources
 8
     was $8,587,203 [$3,087,203 + $5,500,000], which equals 18,887 loans [$8,587,203 /
 9
     $454.64].
10
            The government admitted that PAIF received the entire consumer loan portfolio
11
     for the $1.1 million advance (Doc. 851, pg.6, ll.1). The 18,887 consumer loans did not
12
     disappear when PAIF sent $1.1 million to Green Circle. If we add the $750,000 of Oak
13
     Tree money Burgess admits he had in reserve, the value of PAIF's collateral was
14
     $9,337,203 [$8,587,203 + $750,000].5 That is basic, simple math. How in the world
15
     could PAIF only collect $2 million to have a $3.4 million loss out of $9,337,203? The
16
     government did not explain this in Doc.851. How could it, what could it possible say?
17
     18,887 loans less 467 loans that were either not funded or manipulated is 18,420 loans
18
     that 100% passed the Microbilt scoring and were deemed good loans that would pay, per
19
     the testimony of Burgess. 18,420 loans x $454.64 = $8,374,468 is the value of the
20
     collateral on the street in Microbilt approved loans. Subtract $750,000 from the $5.5
21
     million and apply the average loan amount and the Court will see the collection rate that
22
     would be needed for PAIF to collect 100% of its $5.5 million (less $750,000) =
23
     $4,750,000. This means PAIF would need a 57% collection rate or stated differently even
24
     at a 43% default rate, PAIF would still collect 100% of its money. PAIF stating they only
25
     5 The government said that Burgess did not conceal the $750,000 PAIF had in a
26   segregated account because the Defense did not ask him about it. “Ask me no questions
27   and I will tell no lies” can be applied here. If the prosecutor knew it, he had the obligation
     to disclose it.
28

                                                   6
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 1
     collected $2 million, means they had a default rate of 76% or a collection rate of 24%
 2
     [$2,000,000 / $8,374,468] on loans that were deemed good and collectible by Burgess in
 3
     his testimony. This is impossible.
 4
            The government makes another misrepresentation that is not supported by the
 5
     math when it said 467 loans worth $212,320 that Harbour pledged for the $1.1 million
 6
     advance represented 20% of the entire portfolio already in default (Doc.851, pg.6, ll.1-2).
 7
     We know Primus stated Oak Tree had loaned approximately $2.7 million as if August 4,
 8
     2015. Id. The Green Circle bank statements have $2,615,000 as of July 2015, so we will
 9
     use that number for the calculations.6
10
            Using Burgess’ stated average loan amount of $454.64, this means Green Circle
11
     pledged (not Harbour) 5,751 loans [$2,615,000 / $454.64] to PAIF for the $1.1 million
12
     advance. Does this equal 20% of the portfolio? No. 5,751 loans x 20% = 1,150 loans,
13
     which means 8% of the entire consumer loan portfolio was in default not 20% [467 loans
14
     / 5,751 loans]. If Burgess is to be believed that 467 loans were bad, then PAIF got 5,284
15
     loans worth $2,402,317 [(5,751 loans – 467 loans) x $454.64]. PAIF was over
16
     collateralize even after the alleged bad loans by $1.3 million. Assuming that PAIF never
17
     loaned another dollar, what would the collection rate need to be for them to collect $1.1
18
     million out of 5,284 loans, to not lose any money? Simple, 45%. They could have a
19
     default rate of 55% and still collect all $1.1 million with the portfolio that was pledged
20
     even after deducting the 467 loans.
21
            This is in alignment with the email from Primus in August 2015, after the funding
22
     of the $1.1 million, that Green Circle default rates are not that high (Doc.839, Burgess
23
     #39). If, for example, Primus did not fund 467 loans with Oak Tree's money or someone
24
     who had access to the LMS changed 467 consumers who were in default to current, PAIF
25
     still would not have lost any money because of the value of the portfolio. Since Burgess
26
27   6 This is less than the amount above $3,087,203, because Oak Tree funded an additional
     monies to Green Circle for consumer loans after July 2015.
28

                                                 7
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 1
     testified no loans after July 2015 were changed, then every loan from that point, per
 2
     Burgess, was a good loan and would only make the Portfolio better. This means Oak
 3
     Tree's additional $472,000 funded to Green Circle after July 2015 added 1,038 consumer
 4
     loans to PAIF's collateral.
 5
            The government stated the sworn testimony of Burgess and Primus and the
 6
     hundreds of documents prove Harbour caused the loss to PAIF of $3,420,060.58
 7
     (Doc.851, pg.7, ll.25-28, pg.8, ll.1-3) Except the government has only produced one
 8
     document, the Declaration of Primus that is tied to the 7/31/15 aging report and nothing
 9
     to the May 2015 aging report and the government did not produce hundreds of documents
10
     at the trial from PAIF. In fact, it produced zero. The government, when examining
11
     Purifoy regarding PAIF used Exhibits 516, 666, 669, 1354, 1518,2293 and 2294. None of
12
     them came from PAIF.
13
            It has never provided any witness testimony or documents supporting that Harbour
14
     manipulated the aging report for May and July 2015. The evidence proved beyond any
15
     peradventure that it could not be and was not Harbour. Nothing was ever manipulated
16
     and all this was contrived; differently of course. One way by Primus and the opposite
17
     way by Burgess. The testimony and evidence proved Harbour was not in charge of
18
     funding the loans and did not have access to the LMS to change the consumers. It has not
19
     provided any testimony how Harbour could manipulate the consumer loans without
20
     access to the LMS, nor did it refute that Harbour and Purifoy did not have access to the
21
     LMS. It has never provided any explanation, testimony or documents on how 467 loans
22
     worth $212,320 caused PAIF to lose $3.4 million. Stated differently, the government did
23
     not refute the Defense stating that up to 500 alleged bad loans could not cause PAIF to
24
     lose $3.4 million (Doc. 839, pg.6 ll.1-8).
25
            It was the Prosecutors words to the Court on how he would prove the fraud and
26
     that never happened, the opposite happened. Purifoy's testimony exonerated Harbour
27
     under the Prosecutors theory of the 7/31/15 aging report and now Burgess theory of her
28

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 1
     providing the aging report to Farrell for May 2015. These were two very material
 2
     misrepresentations to the Court by the Prosecutor and Burgess. With Burgess testimony,
 3
     the alleged fraud changed from Purifoy seeing Harbour physically change the 7/31/15
 4
     aging report on a piece of paper before sending it to PAIF, to the consumer lenders were
 5
     not funded at all or were changed in the LMS in May and July 2015.7
 6
           In what has become commonplace, the government came up with a new theory
 7
     and told the Court Harbour lulled PAIF by sending PAIF altered borrowing bases after
 8
     August 2015 so they would not call the loan. Purifoy’s, and now Burgess’ testimony,
 9
     ended that latest theory. Burgess testified PAIF received 14 borrowing base schedules
10
     and they were not altered. It was the two aging reports, one in May and one in July 2015,
11
     that were altered. Even though every theory the Prosecutor has trotted out has been
12
     rebutted by the evidence and the testimony of his own witnesses, the government is still
13
     trying to say Harbour caused PAIF to lose $3.4 million.
14
           The Prosecutor also tells the Court that PAIF is relevant conduct. Burgess said it
15
     was two aging reports. Harbour and Purifoy never spoke to PAIF in May 2015 when they
16
     extended credit to Green Circle, so no misrepresentations. The evidence proved the
17
     7/31/15 aging was not changed from Andreev, so no misrepresentation. The evidence
18
     proved Harbour and Purifoy had zero access to the LMS, so no misrepresentation. The
19
     evidence proved Harbour and Purifoy did not control the cash, so no misrepresentation on
20
     the non-funded loans.
21
           The $1.1 million was a repayment from Green Circle to Oak Tree for money it had
22
     loaned and the evidence proves Primus and Burgess knew this is what the money was for,
23
     so once it got to Oak Tree from Green Circle it had nothing to do with PAIF, which is
24
     why Exhibit 910 is irrelevant. To make this point crystal clear, only because the
25
26   7 We must again ask the Court, where did the Prosecutor come up with his theory of the
27   fraud? It was not Purifoy or Burgess both of their testimony exonerate Harbour of the
     Prosecutors theories. What was his evidence when he made his Proffer to the Court?
28

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 1
     Prosecutor is still hanging on to this as a fraud, Burgess and Primus 100% knew PAIF
 2
     was advancing the $1.1 million to Green Circle to pay-back Oak Tree for money it had
 3
     loaned Green Circle. Once the money reached Oak Tree, Primus, Burgess, PAIF nobody
 4
     had any control or say what happened to it except the person it belonged too. The
 5
     evidence proved and the government admitted in Doc. 710, the $1.1 million belonged to
 6
     Dunsworth. Dunsworth deciding to make a personal loan to Harbour has nothing to do
 7
     with PAIF and there is nothing illegal about it. Again, Exhibit 910 has no relevancy to the
 8
     case against Harbour.8 There is no relevant conduct for PAIF. Which agrees with the
 9
     Court in Doc. 801 that PAIF did not meet the preponderance of the evidence for
10
     forfeiture. Nor do they meet the requirements for Restitution or Sentencing. Burgess was
11
     required to testify under oath because neither he nor PAIF was considered to be victims
12
     by the Court. Had they been victims, Burgess would not have been cross-examined.
13
                  What did the government did not refute from Defense Doc. 839
14
            Burgess did not disclose his ownership of PAIF to Green Circle or Harbour, which
15
     being a convicted Felon would be material information. Green Circle made enough
16
     money from the consumer loans to always pay Oak Tree and PAIF its debt payments and
17
     its operating expenses; The $1.1 million was a repayment of the money that Dunsworth
18
     through his entity KC Lending loaned Green Circle and then Dunsworth loaned the $1.1
19
     million as a personal loan to Harbour, making Exhibit 910 irrelevant; Green Circle paid
20
     Burg and Turasky on their full amounts: $1 million and $350,000; PAIF had access to the
21
     Green Circle LMS through Primus which allowed them to see the portfolio in real time
22
     with live data feeds; Harbour, Purifoy or Andreev did not send any financial statements
23
24
25   8 The $1.1 million Green Circle sent Oak Tree is Gross Income to Oak Tree and not
     probative of any material fact in the case. Therefore, the $1.1 million cannot be used to
26   prove any charges against Harbour. With the prosecutors admission, Exhibit 910 should
27   never have been allowed in the trial. It was completely prejudicial to Harbour and could
     easily have swayed the return of all the verdicts of guilt.
28

                                                 10
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 1
     or aging reports to Alonzo Primus or Bob Farrell in May 2015 to be forwarded to PAIF
 2
     for PAIF to make a decision to extend credit to Green Circle.
 3
             Burgess has never supplied any emails with any financial documents from
 4
     Harbour, Purifoy or Andreev from May 2015; Primus had his own financial statements
 5
     for Green Circle which included monthly income statements and accounts receivable
 6
     aging reports; the only person Farrell could have received financial information for Green
 7
     Circle in May 2015 was Primus; Harbour and Purifoy did not meet Farrell until July 2,
 8
     2015.
 9
             Primus used his own aging report numbers for the August 31, 2015 borrowing
10
     base; Green Circle had at least 18,000 consumer loans on the street after the
11
     “manipulated” or “not funded” loans were subtracted from the entire portfolio; Burgess
12
     testified that normal default rates are 20% or less and Primus in an email stated Green
13
     Circle did not have high default rates; Loans that were funded and approved by Microbilt
14
     were good loans and would pay; the calculations proving mathematically PAIF had to of
15
     collected more than $2 million based on Burgess and Primus own numbers of loans
16
     funded, avg. loan amount and default rates.
17
                                              Conclusion
18
             The government lost PAIF and correctly so both because it failed in its proof and
19
     because of a fatal variance, which the government has never addressed. The government
20
     gets no new trial motion. As usual, the government never actually refutes anything; it
21
     simply reiterates and reiterates its talking points, shifting its theories again and again.
22
             RESPECTFULLY SUBMITTED this 26th day of January 2024.
23
24                                           CHRISTIAN DICHTER & SLUGA, P.C.

25                                           By: /s/ Stephen M. Dichter
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28

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 1                                             Attorneys for Defendant David A. Harbour
 2
 3
                                 CERTIFICATE OF SERVICE
 4
 5          I hereby certify that on January 26, 2024 I electronically transmitted the attached
     document to the Clerk’s Office using the CM/ECF system for filing and for transmittal
 6   of Notice of Electronic Filing to the following CM/ECF registrants:
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14
15   /s/ Yvonne Canez
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